Case 8:19-cv-00098-JLS-DFM Document 21 Filed 03/14/19 Page 1 of 4 Page ID #:68



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   6
       Attorneys for Defendant
   7 POWERLINE FUNDING LLC

   8
                     IN THE UNITED STATES DISTRICT COURT
   9               FOR THE CENTRAL DISTRICT OF CALIFORNIA
  10                          SOUTHERN DIVISION

  11 MARIANO BENITEZ, individually

  12 and on behalf of others similarly       Case No. 8:19-cv-00098
       situated,
  13                                         THIRD STIPULATION FOR
  14               Plaintiff,                EXTENSION OF TIME TO
                                             RESPOND TO THE COMPLAINT
  15         vs.
  16
       POWERLINE FUNDING LLC, a New
  17 York limited liability company,

  18
                   Defendants.
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                                                THIRD STIPULATION FOR EXTENSION OF TIME
Case 8:19-cv-00098-JLS-DFM Document 21 Filed 03/14/19 Page 2 of 4 Page ID #:69



   1                                     STIPULATION
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       TO THE HONORABLE COURT:
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   4            WHEREAS on January 21, 2019, Marino Benitez (“Plaintiff”) filed a putative

   5 class action complaint (“Complaint”) against Powerline Funding LLC

   6
       (“Powerline”);
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   8            WHEREAS Powerline was served with a Summons and copy of the

   9 Complaint on or about January 24, 2019, making Powerline’s responsive pleading

  10
       originally due to be filed on February 14, 2019;
  11

  12            WHEREAS the Court previously approved the parties’ stipulations to extend

  13 Powerline’s time to respond to the Complaint to and including March 18, 20191;

  14
                WHEREAS the undersigned counsel was only recently retained by
  15
              2
  16 Powerline and needs additional time to review the allegations and legal claims

  17 contained in the Complaint;

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                IT IS HEREBY STIPULATED by and between the parties, through their
  19

  20 respective counsel, that Powerline shall have up to and including April 15, 2019 to

  21 file its response to Plaintiff’s Complaint.

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           See Dkt. Nos. 13, 16-18.
  27   2
           See Dkt. No. 19.
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                                                       THIRD STIPULATION FOR EXTENSION OF TIME
Case 8:19-cv-00098-JLS-DFM Document 21 Filed 03/14/19 Page 3 of 4 Page ID #:70



   1                                           Respectfully submitted,
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       Dated: March 14, 2019                  Defendant Powerline Funding LLC
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   4                                          By: /s/ Alan M. Ritchie
                                                     One of its Attorneys
   5

   6                                          Alan M. Ritchie (298989)
                                              aritchie@pilgrimchristakis.com
   7                                          Pilgrim Christakis LLC
   8                                          321 N. Clark Street, 26th Floor
                                              Chicago, Illinois 60654
   9                                          Telephone: (312) 924-1773
  10                                          Facsimile: (312) 379-8547

  11 Dated March 14, 2019                     Plaintiff Mariano Benitez
  12
                                              By: /s/ Taylor T. Smith
  13                                                 One of his Attorneys
  14
                                              Steven L. Woodrow (admitted pro hac vice)
  15                                          swoodrow@woodrowpeluso.com
  16                                          Taylor T. Smith (admitted pro hac vice)
                                              tsmith@woodrowpeluso.com
  17                                          Woodrow & Peluso, LLC
  18                                          3900 East Mexico Ave, Suite 300
                                              Denver, Colorado 80210
  19                                          Telephone: (720) 213-0675
  20                                          Facsimile: (303) 927-0809
  21                           SIGNATURE CERTIFICATION
  22
            Pursuant to Local Rule 5-4.3.4(a)(2)(i), I hereby certify that Plaintiff’s
  23

  24 counsel concurs with the content of this document and has authorized me to affix his

  25 signature to the document and file the same with the Court.

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  27                                                 /s/ Alan M. Ritchie
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                                                      THIRD STIPULATION FOR EXTENSION OF TIME
Case 8:19-cv-00098-JLS-DFM Document 21 Filed 03/14/19 Page 4 of 4 Page ID #:71



   1                              CERTIFICATE OF SERVICE
   2         Alan M. Ritchie, an attorney, certifies that on March 14, 2019, he
   3
       electronically filed the foregoing Third Stipulation for Extension of Time to
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   5 Respond to the Complaint with the Clerk of the Court by using the CM/ECF system,

   6
       which will send a notice of electronic filing to all attorneys of record.
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   8                                                   /s/ Alan M. Ritchie
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                                                        THIRD STIPULATION FOR EXTENSION OF TIME
